     Case 1:15-cv-06119-AJN-JLC Document 381-25 Filed 06/19/17 Page 1 of 3




From:       BatteryPark.TV
Sent:       Thursday, October 25, 2012 3:38 PM EDT
To:         'Michael Devereaux'
Subject:    RE: Dog activist drops legal action against Gateway Plaza and LeFrak




Mr. Devereaux

You are an erratic man who is a "hoarder" of animals and commits animal cruelty by allowing
skin conditions to fest so badly that the entire building complain. You are now engaging in a
campaign if purely frivolous lawsuits on behalf of dogs and losing. You lost against the Battery
Park PEPs. You seems to have gotten nowhere with the Sendor case. This is likely a case that
will get you disciplined by the NY bar for taking it pro bono and not charging your client.

If you threaten us again for writing accurate journalism stories, which you have not even read,
you will be making a mistake. That would be malicious frivolous prosecution.

You are a mentally disturbed man, in my opinion. You are mistreating your three large dogs and
neglecting their health.



From: Michael Devereaux [mailto:mdevereaux@devlegal.com]
Sent: Thursday, October 25, 2012 3:06 PM
To: 'BatteryPark.TV'
Subject: RE: Dog activist drops legal action against Gateway Plaza and LeFrak

That's none of your business. Mr. Sendor is a private citizen. We again notify you that your
reports are false and should be removed. You have been notified to cease and desist.

Michael J. Devereaux, Esq.
DEVEREAUX, BAUMGARTEN
39 Broadway, Suite 910
New York, New York 10006
Tel. (212) 785-5959
Fax (212) 785-4487

From: BatteryPark.TV [mailto:info@batterypark.tv]
Sent: Thursday, October 25, 2012 1:21 PM
To: 'Michael Devereaux'
Subject: RE: Dog activist drops legal action against Gateway Plaza and LeFrak

did you take the Sendor case pro bone, on contingency, or has he laid out his own money in retainer?




                                                                                                       LD000012
     Case 1:15-cv-06119-AJN-JLC Document 381-25 Filed 06/19/17 Page 2 of 3



From: Michael Devereaux [mailto:mdevereaux@devlegal.com]
Sent: Thursday, October 25, 2012 12:48 PM
To: 'BatteryPark.TV'
Subject: RE: Dog activist drops legal action against Gateway Plaza and LeFrak

You are again incorrect in saying it was "never a lawsuit." We moved by Order To Show Cause for relief.
The Landlord and Mr. Sendor resolved the OTC by stipulation because we received consideration. The
landlord requested Mr. Sendor to consider another, different stipulation resolving Mr. Sendor's lawsuit.
We agreed to consider same, nothing more. We are presently considering same. However, we believe a
trial is necessary because the source of the unfounded complaints relied upon by Gateway is reportedly
"crazy," has "serious problems," and apparently is himself very prejudiced against dogs. Gateway is
horribly mistaken to rely upon such a discredited source to quite literally attack an innocent tenant. Mr.
Sendor is considering suing this serial, habitual complainer for, among other things, harassment. You
should remove your report because it is false.


Michael J. Devereaux, Esq.
DEVEREAUX, BAUMGARTEN
39 Broadway, Suite 910
New York, New York 10006
Tel. (212) 785-5959
Fax (212) 785-4487

From: BatteryPark.TV [mailto:info@batterypark.tv]
Sent: Thursday, October 25, 2012 12:21 PM
To: 'Michael Devereaux'
Subject: RE: Dog activist drops legal action against Gateway Plaza and LeFrak

It was never a lawsuit, since no judicial intervention was requested. Have you since requested such
intervention?

What specifically happened yesterday between the plaintiff and defendant

From: Michael Devereaux [mailto:mdevereaux@devlegal.com]
Sent: Thursday, October 25, 2012 12:00 PM
To: 'BatteryPark.TV'
Subject: RE: Dog activist drops legal action against Gateway Plaza and LeFrak

That assertion is incorrect. The lawsuit continues in Supreme Court. Please do not report factually
incorrect information.

Michael J. Devereaux, Esq.
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                                                                                                             LD000013
     Case 1:15-cv-06119-AJN-JLC Document 381-25 Filed 06/19/17 Page 3 of 3



From: BatteryPark.TV [mailto:info@batterypark.tv]
Sent: Thursday, October 25, 2012 11:29 AM
To: mdevereaux@devlegal.com
Subject: FW: Dog activist drops legal action against Gateway Plaza and LeFrak

Do you have a comment? Was there a settlement? Did your client gain anything?



Dog activist drops legal action against Gateway Plaza and
LeFrak




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http://www.batterypark.tv/

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